Case 2:17-cr-00098 Document 1 Filed in TXSD on 01/26/17 Page 1 of 1

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UNlTED STATES DlSTR|CT COURT oavm.afaai»y,m°¢c°m
SOUTHERN DlSTRICT OF TEXAS

UNlTED STATES OF AMER|CA
V CRlMlNAL COMPLA|NT

Tomas LOPEZ-Pena
Case Number: C./( ’).,7 M

I, the undersigned complainant state that the following is true and correct to the best of my

A091 (Rev. 8/01) Crimina| Complaint

 

knowledge and belief. On or about January 25, 2017 in Brooks County, in the
(Date)
Southern District of Texas defendant, Tomas LOPEZ-Pena a native and citizen of
Mexico ,and an alien who had been previously deported from the United States was found unlawfully

within the United States in Brooks County, Texas, the said defendant having not obtained the consent
of the Attorney Genera| or the Secretary of the Department of Home|and Security for application for readmission
into the United States,

 

in violation of Tit|e 8 United States Code, Section(s) 1326
l further state that l am a(n) Border Patrol Agent and that this complaint is based on the following Facts:
thcia| Tit|e

On January 25, 2017 Tomas LOPEZ-Pena was encountered at the Falfurrias, Texas Border Patrol Checkpoint.
LOPEZ was part of an administrative alien smuggling case. Agents determined LOPEZ to be a citizen and
national of Mexico without any immigration documents that would allow him to enter or remain in the United States
|egal|y. Record checks revealed LOPEZ was ordered removed from the United States by an immigration Judge
on November 21, 2016 in Da|las, Texas. LOPEZ was then physically removed from the United States to Mexico
on November 23, 2016 via De| Rio, Texas. Record checks further revealed LOPEZ has a conviction for Driving
While intoxicated (3rd time) and was sentenced to 7 years confinement (7 years suspended sentence). LOPEZ
stated that he last entered the United States illegally on or about January 20, 2017 via Hida|go, Texas. At this
time there is no evidence to indicate LOPEZ has applied for re-admission into the United States by the United
States Attorney Genera| or the Secretary of the Department of Home|and Security. RGV North Prosecutions
presented the facts to AUSA Michae| Hess who accepted prosecution for 8 USC 1326, Re-entry after Deportation.

   

Sworn to before me and signed in my presence, and
probable cause found on:

   

Jaime Trevino
Printed Name of Complainant

January 26, 2017 at /cog>u,s christi, Lexa;s//'

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Date City and t
Jason B. Libby U.S. Magistrate Judge A

Name and Tit|e of Judicia| Officer Signatur'e»éf.ludici§i’§f'ficer

